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                      UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION
JOHN T. LAMONT and PRESTON          §
POULTER,                            §
                                    §
                Plaintiffs,         §
                                    §
vs.                                 §
                                    §                  CASE: 3:21-CV-1176-K
                                    §
                                    §
ALI “DEAN” ASSAF A/K/A DA TALK;     §     Honorable District Judge Ed Kinkeade
VICTORIA KUNDERT A/K/A              §
VIKKIVERSE, AND ETHAN VAN SCIVER, §
                Defendants.         §

                              FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Preston Poulter and John Lamont and files this their First Amended

Complaint and would show unto the Court the following.

                                               I.
                                            PARTIES

         1.    Plaintiff Preston Poulter is a citizen and resident of Texas.

         2.    Plaintiff John T. Lamont is a citizen and resident of Florida.

         3.    Defendant Ali “Dean” Assaf a/k/a “DA Talk” is a citizen and resident of

California who may be served at his residence at 1014 E Alameda Street, Manteca, California

95336.

         4.    Defendant Victoria C. Kundert a/k/a VikkiVerse is a citizen and resident of New

Mexico who may be served at her residence at 5412 Mariposa Drive NW, Albuquerque, New

Mexico 87120.




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       5.      Defendant “Ethan Van Sciver is a citizen and resident of New Jersey and who

may be served at his residence at 5 John Sloan Way, Evesham, New Jersey 08053.

                                         II.
                         DIVERSITY JURISDICTION AND VENUE

       6.       This Court has diversity jurisdiction over this civil action pursuant to 28 U.S.C. §

1332 because there is complete diversity of citizenship. Plaintiff Preston Poulter and Plaintiff

John T. Lamont are citizens of a different state than Defendants. Plaintiff Poulter is a citizen of

Texas, Plaintiff John T. Lamont is a citizen of Florida, Defendant Ali “Dean” Assaf is a citizen of

California, Defendant Victoria C. Kundert a/k/a VikkiVerse is a citizen of New Mexico and

Defendant Ethan Van Sciver is a citizen of New Jersey.

       7.      The amount in controversy exceeds the sum or value of $75,000 for each Plaintiff,

exclusive of interest and costs for general, specific and exemplary damages.

       a.      Preston Poulter.

       (i) Defendants’ defamatory remarks and conduct damaged Mr. Poulter’s comic business,

which has a focus on revenue generation on the crowd-funding site Kickstarter. During Mr.

Poulter’s most recent campaign on Kickstarter, former customers refused to support him citing

his association with a “pedophile.” The overall performance suffered a 20% drop in the average

funding contributions from the last major campaign in November of 2020.

        (ii) Preston Poulter’s income stream has been negatively impacted by Defendants’

defamatory remarks and conduct. Plaintiff Preston Poulter projects $25,000 in lost revenue this

year and at least $75,000.00 over the next three (3) years.

       (iii)   Mr. Poulter typically attends comic book conventions/gatherings to generate

additional sales and exposure. He has already been cautioned about going and has fears for his

safety due to the personal attacks. Allowing $400.00 per diem (10 hrs. per day) for additional



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security at these events would cost Mr. Poulter at least $14,000.00 through the rest of 2021.

       (iv)    Plaintiff Preston Poulter has experienced and is experiencing significant stress,

lack of sleep, vexation, anxiety and worry which have prompted him to seek psychological

evaluation and treatment that ha already cost him $1,500.00. Preliminary estimates call for

weekly therapy over the span of many years with no guarantee of recovery. Allowing $275.00

per hour for a qualified therapist puts Mr. Poulter’s mental health costs at $41, 250.00 for the

next 36 months.

        (v)    Plaintiff Preston Poulter will incur additional and heightened expenses for public

relations to overcome and repair the damages to his reputation and business due to the

defamatory statements in an amount to be determined through an expert witness.

       (vi)    Preston Poulter has experienced pain and mental anguish this year and has been

prevented from being able to conduct daily life functions. Preston Poulter will continue to suffer

pain and mental anguish for a long time into the future, especially since the defamatory remarks

have been disseminated to a large part of the community of comic book professionals and

enthusiasts. Plaintiff Preston Poulter seeks in excess of $100,000.00 in mental anguish damages

for the devastating and reprehensible unfounded accusations of Defendants. Damages to his

reputation also exceed $100,000.00.

       b.      John T. Lamont.

       (i)     John T. Lamont’s launched his first comic, TheDemonatrix on March 1, 2021 with

projected sales of $5,000.00. On the same day the comic was launched, Defendants Ali “Dean”

Assaf and Victoria Klenert began an intense campaign of denigration and vilification of John

Lamont calling him a pedophile. Comic book sales immediately stalled. Some prospective

customers refused to support the campaign citing allegations of pedophile. Poor sales forced the




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campaign’s cancellation.

       (ii)    Despite having previously approved TheDemonatrix for their platform,

Kickstarter rejected it upon re-submission by Mr. Lamont. Kickstarter declined to approve his

next book project “Angel of Darkness.” Defendants’ defamatory statements have chilled all

future sales opportunities for John Lamont because Kickstarter has shut him out with

unprecedented demands. As a result of the defamatory statements, Kickstarter has now also

rejected John Lamont’s next comic book project “Angel of Darkness.” Defendants’ defamatory

statements have chilled all future sales opportunities for John Lamont because Kickstarter has

shut him down with unreasonable demands. Based upon Mr. Lamont’s projections of 4-5 comics

per year John Lamont will suffer in a loss of approximately $25,000.00 in annual sales and at

least $75,000.00 for then next 3 years.

       (iii)   As a result of the acts of Defendants’ conduct, Plaintiff John T. Lamont has

experienced significant stress, anxiety, sleeplessness, headaches, stomach pains and a racing

heart. He has been unable to participate in the comic community without suffering from heart

palpitations and anxiety.

       (iv)    John Lamont has kept to himself for fear of his safety. He has isolated himself

and stopped going out for fear of his life, he experienced anxiety attacks on those occasions

when he did go into town as well as shortness of breath and accelerated heart rate. He suffered

from many sleepless nights, and has resorted to involuntary stress eating, has gained a significant

amount of weight, his cholesterol is high and his medical doctor has expressed concern for his

overall health. He has incurred medical expenses. He has also been forced to keep to himself for

fear that others who are not in the comic community will learn of the defamatory comments.

        (v)    John Lamont fears for his personal safety. After he was doxed, he had to notify




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the local sheriff’s department because he fears that he will be harmed and fears for the safety of

his family members. In addition, it is typical for comic book authors to attend trade gatherings to

promote additional and future sales. Mr. Lamont is afraid to attend the upcoming show due to

fears that he will be ostracized, assaulted and fears for his personal safety based upon the

defamatory statements. John Lamont expects loss of sales due to not attending conventions and

meetings of approximately $5,000.00 to $10,000.00 per year.

       (vi)     Plaintiff John Lamont will incur additional and heightened expenses for public

relations to overcome and repair the damages to his reputation and business due to the

defamatory statements in an amount to be determined through an expert witness.

       (vii)    Mr. Lamont has had to pursue counseling and will have weekly visits for the

foreseeable future. Mr. Lamont’s therapist charges $160.00 per hour and his expected costs for

therapy are approximately $24,960.00 for the next 3 years.

       (viii)   John Lamont is experiencing symptoms of PTSD that come on suddenly such that

he cannot function as he has in the past. John Lamont has experience pain and mental anguish

this year and has been prevented from being able to conduct daily life functions. John Lamont

will continue to suffer pain and mental anguish for a long time into the future, especially since

the defamatory remarks have been disseminated to a large part of the community of comic book

professionals and enthusiasts. Plaintiff John Lamont seeks in excess of $150,000.00 in mental

anguish damages for the devastating and reprehensible unfounded accusations of Defendants.

Damages to his reputation also exceed $150,000.00.

       c. Exemplary Damages

       (i) Both Plaintiffs are entitled to exemplary damages in an undetermined amount due to

the egregious nature of the defamatory statements and the continuing nature of the defamatory




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comments.

       8.      Venue in this Court is proper pursuant to 28 U.S.C. § 1391 as it is the district

where a substantial part of the events or omissions giving rise to the claim occurred. Defendants’

defamatory statements specifically targeted the Plaintiffs where they reside and are located and

intended that the defamatory statements would damage their reputations locally and nationally in

their professions.

                                            III.
                                   FACTUAL ALLEGATIONS

       9.      John T. Lamont is a writer and illustrator of gothic and fantasy comics that are

primarily released through the internet and dedicated community chat rooms and YouTube

channel.

       10.     Preston Poulter is a publisher, producer, writer and illustrator of gothic and

fantasy comics, and also hosts a web presence called Comicsgate and hosts a show on a YouTube

channel and interactive community that promotes and discusses comics and their authors.

       11.     Optical Illusion Studios released #TheDemonatrix, a Daz3d comic series that

premiered on March 1, 2021 and was written and illustrated by Plaintiff John T. Lamont.

       12.     Preston Poulter promoted TheDemonatrix comic and placed it in the Comicsgate

umbrella of recognized comics.

       13.     The storyline of TheDemonatrix is a fictional.

       14.     Once the comic series was posted in a CGDG stream, beginning March 1, 2021,

Defendants Assaf and Kundert made statements regarding the comic, its content, and made

directly and through innuendo defamatory statements about the author, John T. Lamont.

       15.     In particular, Defendant Ali “Dean” Assaf blatantly accused John T. Lamont of




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being a pedophile, of sharing and participating in “Lolicon”1 with others on the internet, and that

John T. Lamont was a diseased person who should be ostracized from society and/or be shot.

Among other statements, Defendant Ali “Dean” Assaf a/k/a DA Talk made the following

defamatory statements about Mr. Lamont on a public platform to Victoria C. Kundert a/k/a

VikkiVerse :

        “3D depictions of little girls having sex shows the guy is a pediophilic.”

        “The guy is making f___________ be pedophilic comics.”

        “Loli in 3D renders it to be pedophilic”.

        “He is a diseased minded f_______ person who should be ostracized from society.”

        “John Lamont is a pedophile.”

        “John Lamont is attracted to drawings of children.”

        “John Lamont is a pedophile. They should be shot.”

        16.      Again on April 12, 2021 Defendant Ali “Dean” Assaf a/k/a DA Talk made

statements to “Big Daddy” on a public platform. In his statements, Defendant Ali “Dean” Assaf

a/k/a DA Talk repeated his prior defamatory statements that accused Mr. Lamont of being a

“pedophile” and “his comic is a pedophile comic.” Defendant Assaf a/k/a DA Talk further

stated that he should “be shamed” and “not normalized.”

        17.        Defendant Victoria C. Kundert a/k/a VikkiVerse endorsed, adopted and re-

published the above statements made by Defendant Ali “Dean” Assaf a/k/a DA Talks and on the

same public platform, made the following defamatory statements there were attributed to John

Lamont:

        “Created woman that looked like they were underage.”

1
  A Japanese term derived from the English phrase “Lolita complex,” lolicon describes a fascination with cartoons
of very young-looking girls engaged in varying degrees of erotic behavior. (The word can be used to describe both
the genre and its aficionados.


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       “a woman that looks like that you would go to jail for f_______.”

       “its Loli in 3D reflection.”

       “just because Loli is legal it doesn’t mean it not child porn.” (a double negative)

       “woman that are created young enough to look like they’re underage.”

       18.     On April 25, 2021, Defendant Ethan Van Sciver joined Ali “Dean” Assaf a/k/a DA

Talks and Vikki Verse on the DA Talks’ YouTube channel and stated that wanted to obtain the

Comicsgate trademark and would protect the trademark by preventing Preston Poulter from

publishing child pornography. In discussing Ethan Van Sciver’s trademark dispute with Preston

Poulter, Defendant Ethan Van Sciver said, “In order to have a trademark you have to protect it. I

will not allow it to be put on child pornography by Preston Poulter.” Again, on April 25, 2021

on the DA Talks YouTube channel, Defendant Ethan Van Sciver repeated his accusation that

Preston Poulter was a child pornographer. Defendant Ethan Van Sciver stated “I don’t want

Preston to make child pornography and put Comicsgate on it.” Defendants Ali “Dean” Assaf

a/k/a DA Talk and Victoria C. Kundert a/k/a VikkiVerse endorsed, agreed, adopted, and re-

published Ethan Van Sciver’s defamatory remarks.

       19.     Ethan Van Sciver and Preston Poulter have a previous issue over the Comicsgate

trademark that Ethan Van Sciver claims is no longer of interest to him, but he made statements

on the DA Talks YouTube channel that he would do whatever he had to do to interfere with Mr.

Poulter’s comic business.

       20.     Defendants Ali “Dean” Assaf a/k/a DA Talk and Defendant Victoria C. Kundert

a/k/a VikkiVerse accused Preston Poulter of knowingly promoting and supporting John T.

Lamont despite his alleged knowledge that John T. Lamont was a pedophile. In addition, by

innuendo, they ascribed the same alleged deviant behavior of John T. Lamont to Preston Poulter




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because as owner of Comicsgate and his dedicated discord server, he actively defended John T.

Lamont, promoted John T. Lamont, participated and hosted on-going exchanges between

participants of “lolicon” through Comicsgate and thus shared an interest in underage girls having

sex as allegedly represented in John T. Lamont’s TheDominatrix comic.

       21.     Defendants Ali “Dean” Assaf a/k/a DA Talk and Defendant Victoria C. Kundert

a/k/a VikkiVerse accused Preston Poulter of knowingly promoting and supporting John T.

Lamont as a known pedophile and child pornographer. They further accused Preston Poulter of

also being a pedophile because he shared and actively participated in “lolicon.” In addition, by

innuendo, they ascribed the same alleged deviant behavior of John T. Lamont to Preston Poulter

because as promoter of Comicsgate and his dedicated discord server, he actively defended John

T. Lamont, promoted John T. Lamont, participated and hosted on-going exchanges between

participants of “lolicon” through Comicsgate and thus shared an interest in little girls having sex

as represented in John T. Lamont’s TheDominatrix comic.

       22.     On May 2, 2021 DA Talks and VikkiVerse repeated their defamatory statements

regarding John Lamont and Preston Poulter.

       23.     Defendants Ali “Dean” Assaf a/k/a DA Talk and Defendant Victoria C. Kundert

a/k/a VikkiVerse intentionally repeated the defamatory statements and defied Plaintiffs to seek

remedies. Since the defamatory statements were first made, they have been disseminated into a

large part of the community of comic book professionals and enthusiasts. The defamatory

statements have been the source of discussions on social media and their publication has been

repeated.




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                                        IV.
                    DEFAMATION, SLANDER PER SE, CYBER LIBEL

       24.     Plaintiffs repeat and re-allege each and every allegation in Paragraphs 1 through

23 as though set out in their entirety herein.

       25.     Defendants’ statements are defamatory per se under common law. Defendants’

statements constitute the invasion of a Plaintiffs’ interest in their reputation and good name, and

denigrate Plaintiffs in their occupation. Defendants have accused Plaintiffs of pedophilia, deviant

behavior and participants in “lolicon.”

       26.     The statements are unprivileged false statements of fact that harm the reputation

of John Lamont.

       27.     The statements constitute Cyber Slander and Libel. The defamatory statements

were written and spoken on a web site and/or Defamation that is spoken such as through an

transcribed video, podcast, YouTube, discord server or audio file. The statements were designed

to reach third parties, and to target the Plaintiffs in their homes and cause damage and financial

harm to them in their homes and beyond.

       28.     Defendants made, recorded and posted the comments as alleged in preceding

incorporated paragraphs with negligence and malice. Defendants knew the statements were false

and acted with reckless disregard for the truth.

Statements Were Defamatory Per Se

       29.     These defamatory statements constitute defamation per se because they pertain to

Plaintiff John T. Lamont’s profession as a writer and illustrator of comic books.           These

defamatory statements constitute defamation per se because they pertain to Plaintiff Preston

Poulter’s occupation as owner of Comicsgate and its associated YouTube channel and discord




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server. Also, the statements are libel per se because they impute sexual misconduct and criminal

conduct.

        30.     The statements were defamatory because a person of ordinary intelligence would

interpret them in a way that tends to injure the Plaintiffs’ reputation and thereby expose him to

public hatred, contempt, or ridicule, or financial injury, or to impeach the Plaintiffs’ honesty,

integrity, virtue, or reputation

        31.     These defamatory statements constitute statutory libel and statutory slander

because they tend to injure the reputation of the plaintiff and expose the plaintiff to public hatred,

contempt, or ridicule, tend to expose the plaintiff to financial injury, and tend to impeach the

plaintiff’s honesty, integrity, virtue, or reputation, exposing the plaintiff to public hatred and

ridicule.

        32.     Defendants statements were defamatory per se and thus no proof of actual

damages is required and damages are presumed because the statements injured Plaintiffs in their

occupation and reputation and impute sexual misconduct.

Statements Were Published

        33.     Defendants published the statements because they were made over the internet

and communicated to third parties who are/were capable of understanding their defamatory

meaning and moreover in such a way that the person did, in fact, understand its defamatory

meaning.

        34.     Defendants published the defamatory statements on at least March 1, 2021, April

12, 2021, April 25, 2021, April 26, 2021 and May 2, 2021 on a YouTube channel, in a chat room,

on a discord server and on-line that can be accessed by the general public and other persons who

visit the Internet and follow social media.




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Statements Referred to Plaintiffs Preston Poulter and John T. Lamont

        35.    Defendants made the statements and they were understood to refer to Plaintiffs.

Those who viewed or saw the statements knew that the Plaintiffs were the objects of the

defamatory statements because they referred to them by name.

Statements Were False

        36.    The defamatory statements set forth above are false. The truth is that Plaintiffs are

not in any manner a pedophile or have a fixation for young girls. They are men in a creative

business who merely use their imagination to create fantasy comic book stories that are

illustrated.

Statements Were Made Negligently and Intentionally

        37.    Defendants made the false and defamatory statement(s) set forth above by

negligently failing to ascertain the truth. Defendants either knew or should have known in the

exercise of ordinary care that the statement(s) were false. Defendants made the false statements

intentionally to injure and harm the Plaintiffs.

Statements Were Not Privileged

        38.    Defendants’ publication of the defamatory statements was not privileged because

the defendant published the defamatory statements with knowledge that they were false or with

substantial grounds for knowing that they might be false and with reckless disregard to whether

they were true or false. Defendants had the ability to ascertain the truth and chose not to do so in

order to enhance their particular views and websites.

Plaintiffs Enjoyed Good Reputation Prior to Statements

        39.    Prior to the Defendants’ defamatory remarks, the Plaintiffs enjoyed good

reputations. Plaintiff John T. Lamont’s work has been well received by viewers and his




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colleagues, he has written, illustrated and/or published many comics in the past that has been

well received. Plaintiff Preston Poulter is also a writer and illustrator, but his primary profession

is as the owner of Comicsgate, which is an organized movement to promote quality in the comic

book industry. He enjoyed an excellent reputation in the comic book industry.

                                              V.
                                       STATUTORY LIBEL

        40.    Plaintiff repeats and re-alleges each and every allegation in Paragraphs 1 through

39 as though set out in their entirety herein.

        41.    Defendants statements tended to injure Plaintiffs’ reputations and expose them to

public hatred and ridicule, financial Injury and impeach their integrity, virtue and reputation.

        42. The statements were reasonably calculated to injure Plaintiffs’ reputations and expose

them to public hatred and ridicule, financial injury and impeach their integrity, virtue and

reputation.

        43.    The statements and publication constitute violations of Tex. Civ. Prac. & Rem

Code 73.001 et. seq.

                                              VI.
                                            DAMAGES

A.      Plaintiffs’ General and Specific Damages

        44.    As a direct and proximate result of the Defendants’ false and defamatory

statements, the Plaintiffs have endured shame, embarrassment, humiliation, and mental pain and

anguish. Additionally, the Plaintiffs have and will in the future be seriously injured in their

reputation, good name, standing in the community, and will be exposed to the hatred, contempt,

and ridicule of the public in general as well in their business pursuit. Consequently, the Plaintiffs

seek actual damages in a sum within the jurisdictional limits of this Court.




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        45.     As a direct and proximate result of the Defendants’ publication of the defamatory

statements, the plaintiff has suffered the following special damages: (1) loss of revenue for

downloads and subscriptions to the comic; (2) loss of future sales; and non-economic damages in

the form of mental anguish. The Plaintiffs seeks to recover special damages in a sum within the

jurisdictional limits of this Court.

        1.      Preston Poulter.

        a.      Defendants’ defamatory remarks and conduct damaged Mr. Poulter’s comic

business, which has a focus on revenue generation on the crowd-funding site Kickstarter. During

Mr. Poulter’s most recent campaign on Kickstarter, former customers refused to support him

citing his association with a “pedophile.” The overall performance suffered a 20% drop in the

average funding contributions from the last major campaign in November of 2020.

        b.      Preston Poulter’s income stream has been negatively impacted by Defendants’

defamatory remarks and conduct. Plaintiff Preston Poulter projects $25,000 in lost revenue this

year and at least $75,000.00 over the next three (3) years.

        c.      Mr. Poulter typically attends comic book conventions/gatherings to generate

additional sales and exposure. He has already been cautioned about going and has fears for his

safety due to the personal attacks. Allowing $400.00 per diem (10 hrs. per day) for additional

security at these events would cost Mr. Poulter at least $14,000.00 through the rest of 2021.

        d.      Plaintiff Preston Poulter has experienced and is experiencing significant stress,

lack of sleep, vexation, anxiety and worry which have prompted him to seek psychological

evaluation and treatment that ha already cost him $1,500.00. Preliminary estimates call for

weekly therapy over the span of many years with no guarantee of recovery. Allowing $275.00

per qualify therapist hour puts Mr. Poulter’s mental health costs at $41, 250.00 for the next 36




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months.

       e.      Plaintiff Preston Poulter will incur additional and heightened expenses for public

relations to overcome and repair the damages to his reputation and business due to the

defamatory statements in an amount to be determined through an expert witness.

       f.       Preston Poulter has experienced pain and mental anguish this year and has been

prevented from being able to conduct daily life functions. Preston Poulter will continue to suffer

pain and mental anguish for a long time into the future, especially since the defamatory remarks

have been disseminated to into a large part of the community of comic book professionals and

enthusiasts. Plaintiff Preston Poulter seeks in excess of $100,000.00 in mental anguish damages

for the devastating and reprehensible unfounded accusations of Defendants. Damages to his

reputation also exceed $100,000.00.

       2.      John T. Lamont.

       a.      John T. Lamont’s launched his first comic, TheDemonatrix on March 1, 2021 with

projected sales of $5,000.00. On the same day the comic was launched, Defendants Ali “Dean”

Assaf and Victoria Klenert began an intense campaign of denigration and vilification of John

Lamont calling him a pedophile. Comic book sales immediately stalled. Some prospective

customers refused to support the campaign citing allegations of pedophile. Poor sales forced the

campaign’s cancellation.

       b.      Despite having previously approved TheDemonatrix for their platform,

Kickstarter rejected it upon re-submission by Mr. Lamont. Kickstarter declined to approve his

next book project “Angel of Darkness.” Defendants’ defamatory statements have chilled all

future sales opportunities for John Lamont because Kickstarter has shut him out with

unprecedented demands. As a result of the defamatory statements, Kickstarter has now also




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rejected John Lamont’s next comic book project “Angel of Darkness.” Defendants’ defamatory

statements have chilled all future sales opportunities for John Lamont because Kickstarter has

shut him down with unreasonable demands. Based upon Mr. Lamont’s projections of 4-5 comics

per year John Lamont will suffer in a loss of approximately $ 25,000.00 in annual sales and at

least $75,000.00 for then next 3 years.

       c.      As a result of the acts of Defendants’ conduct, Plaintiff John T. Lamont has

experienced significant stress, anxiety, sleeplessness, headaches, stomach pains and a racing

heart. He has been unable to participate in the comic community without suffering from heart

palpitations and anxiety.

       d.      John Lamont has kept to himself for fear of his safety. He has isolated himself

and stopped going out for fear of his life, he experienced anxiety attacks on those occasions

when he did go into town as well as shortness of breath and accelerated heart rate. He suffered

from many sleepless nights, and has resorted to involuntary stress eating, has gained a significant

amount of weight, his cholesterol is high and his doctor has expressed concern for his overall

health. He has also been forced to keep to himself for fear that others who are not in the comic

community will learn of the defamatory comments.

       e.       John Lamont fears for his personal safety. After he was doxed, he had to notify

the local sheriff’s department because he fears that he will be harmed and fears for the safety of

his family members. In addition, it is typical for comic book authors to attend trade gatherings to

promote additional and future sales. Mr. Lamont is afraid to attend the upcoming show due to

fears that he will be ostracized, assaulted and fears for his personal safety based upon the

defamatory statements.      This constitutes an expected loss of sales due to not attending

conventions and meetings of approximately $5,000.00 to $10,000.00 per year.




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        f.     Plaintiff John Lamont will incur additional and heightened expenses for public

relations to overcome and repair the damages to his reputation and business due to the

defamatory statements in an amount to be determined through an expert witness.

        g.      Mr. Lamont has had to pursue counseling and will have weekly visits for the

foreseeable future. Mr. Lamont’s therapist charges $160.00 per hour and his expected costs for

therapy is approximately $24,960.00 for the next 3 years.

        h.     John Lamont is experiencing symptoms of PTSD that come on suddenly such that

he cannot function as he has in the past. John Lamont has experienced pain and mental anguish

this year and has been prevented from being able to conduct daily life functions. John Lamont

will continue to suffer pain and mental anguish for a long time into the future, especially since

the defamatory remarks have been disseminated to a large part of the community of comic book

professionals and enthusiasts. Plaintiff John Lamont seeks in excess of $150,000.00 in mental

anguish damages for the devastating and reprehensible unfounded accusations of Defendants.

Damages to his reputation also exceed $150,000.00.

B.      Exemplary Damages

        46.    As a direct and proximate result of Defendants’ publication of the defamatory

statements, Plaintiffs’ reputations have been severely injured.

        47.    Plaintiffs are entitled to exemplary damages from Defendants because they acted

with the malice required to support an award of exemplary damages. Defendants acted with a

specific intent to cause injury to Plaintiffs because they deliberately and maliciously called him

out as a pedophile, and published the derogatory statements accusing him of being a pedophile so

that that it would inflict severe damage to his reputation, business and finances. Both Plaintiffs




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are entitled to exemplary damages in an undetermined amount due to the egregious nature of the

defamatory statements and the continuing nature of the defamatory comments.

                                              VII.
                                         JURY DEMAND

       48.      Plaintiffs Preston Poulter and John T. Lamont hereby assert their rights under the

Seventh Amendment of the United States Constitution and demand, in accordance with Federal

Rules of Civil Procedure 38, a trial by jury on all the issues.

                                              VIII.
                                             PRAYER

       WHEREFORE PREMISES CONSIDERED, Plaintiffs request that Defendants be cited to

appear and answer, and that on final trial the Plaintiffs have the following:

       1. Upon final trial, judgment against Defendants, jointly and severally, in a sum in
       excess of the minimum jurisdiction of this Court

       2.    Pre-judgment interest as provided by law;

       3.    Post-judgment interest as provided by law;

       4. Judgment for exemplary damages against Defendants in a sum determined by the
       trier of fact;

       5. Plaintiffs’ reasonable and necessary attorneys’ fees in prosecuting its claim(s)
       through trial and, if necessary, through appeal;

       6.    All costs of suit; and

       7. Such other and further relief, at law or in equity, to which the Plaintiffs may show
       themselves justly entitled.




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                                          Respectfully submitted,

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